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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                     §       MDL NO. 2179
“DEEPWATER HORIZON” in the                          §
GULF OF MEXICO, on APRIL 20, 2010                   §       SECTION: J
                                                    §
                                                    §       JUDGE BARBIER
Applies to: Civil Action 10-2771 Only               §
                                                    §       MAG. JUDGE SHUSHAN
IN RE COMPLAINT AND PETITION                        §
OF TRITON ASSET LEASING GmbH,                       §
TRANSOCEAN HOLDINGS LLC,                            §
TRANSOCEAN OFFSHORE DEEPWATER                       §
DRILLING, INC., AND TRANSOCEAN                      §
DEEPWATER, INC., AS OWNER,                          §
MANAGING OWNER, OWNERS PRO-HAC                      §
VICE, AND/OR OPERATORS OF THE                       §
MODU DEEPWATER HORIZON, IN A                        §
CAUSE FOR EXONERATION FROM OR                       §
LIMIATION OF LIABILITY                              §

                       ORDER OF DISMISSAL, WITH PREJUDICE

       Considering the above and foregoing Final Motion of Dismissal, with Prejudice,

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that all matters in this

controversy filed by Air Comfort Company, Inc., Doc. No. 402, against any party including, but

not limited to, all British Petroleum entities, all Transocean entities, and all other Defendants

listed on the Attachment A to the Gulf Coast Claims Facility Release and Covenant Not To Sue,

be and the same hereby are dismissed in their entirety with full prejudice, each party to bear its

own costs.

       Signed in New Orleans, Louisiana this ____ day of ________, 2012.


                                             _______________________________________
                                             Honorable Carl J. Barbier
                                             UNITED STATES DISTRICT JUDGE




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